Case 1:23-cv-00335-ABJ Document 7 Filed 02/07/23 Page 1 of 1

AO 458 (Rev. 06/09) Appearance of Counsel

 

UNITED STATES DISTRICT COURT

 

for the
District of Columbia [~]
Kristi L., et al. )
Plaintiff )
V. ) Case No. 1:23-cv-335
National Air and Space Museum, et al. )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

all Plaintiffs.

 

Date: 02/07/2023 /s/ Edward L. White III
Attorney’s signature

Edward L. White III (D.D.C. Bar No. TX0116)

 

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